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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

William Krieger,                             Docket No. 4:16-cv-830-MWB
                    Plaintiff                (JUDGE MATTHEW W. BRANN)

v.


Bank of America, N.A.,
                 Defendant                   ELECTRONICALLY FILED

                                AMENDED COMPLAINT

                                 I.   INTRODUCTION

     1. This is an action for actual damages, statutory damages, and attorney’s fees

for violation of the Truth in Lending Act, 15 U.S.C. § 1601 et seq. (“TILA”), the

Fair Credit Extension Uniformity Act, 73 P.S. § 2270.1 et seq. (“FCEUA”), and

the Unfair Trade Practices and Consumer Protection Law, 73 P.S. § 201-1 et seq.

(“UTPCPL”). Defendant failed to conduct a reasonable investigation after being

notified of a billing error, and Defendant failed to limit Plaintiff’s liability to

$50.00 for unauthorized charges made on Plaintiff’s credit card. Furthermore,

Defendant falsely and erroneously demanded payment of the entire balance from

Plaintiff.

                        II.      JURISDICTION AND VENUE

     2. The foregoing paragraphs are incorporated herein by reference.
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   3. This Court has jurisdiction over the TILA claims pursuant to 15 U.S.C.

§ 1640(e), which permits an action to be brought in any court of competent

jurisdiction.

   4. This Court has supplemental jurisdiction of the FCEUA and UTPCPL

claims under 28 U.S.C. § 1367, as these claims are so related to the TILA claims

that they form part of the same case or controversy.

   5. Venue in this Court is proper in that Plaintiff resides here, the conduct

complained of occurred here, and Defendant transacts business here.

                                  III.   PARTIES

   6. The foregoing paragraphs are incorporated herein by reference.

   7. Plaintiff is a natural person residing at 147 W. Barton Avenue, Elysburg, PA

17824.

   8. Defendant, Bank of America, N.A., is a bank with a place of business

located at 100 North Tryon St, Charlotte, NC 28202.



                         IV.    STATEMENT OF FACTS

   9. The foregoing paragraphs are incorporated herein by reference.

   10.Plaintiff entered into an open-ended credit transaction, namely a

BankAmericard Visa account, with Defendant for personal, family, and household

purposes (“the Account”).


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   11.At all times relevant hereto, Defendant, in the ordinary course of business,

regularly extended open-end consumer credit, pursuant to a Visa, on which

Defendant assessed finance charges.

   12.Near the end of June 2015, Plaintiff’s computer was malfunctioning.

   13.On or about June 27, 2015, Plaintiff received a telephone call from an

unknown third-party who identified himself as a Microsoft employee.

   14.This individual informed Plaintiff that Plaintiff’s computer was infected with

a virus, and that Plaintiff would need to let this individual remotely access his

computer in order to remove the virus.

   15.While this individual was accessing Plaintiff’s computer, Plaintiff’s daughter

arrived home and Plaintiff informed her that Microsoft was working on the

computer.

   16.Plaintiff’s daughter informed Plaintiff that it was unlikely that Microsoft

would call to inform him that his computer had a virus and that the call was

probably a scam.

   17.Plaintiff’s daughter thereafter disconnected Plaintiff’s computer from the

internet and while she was doing so Plaintiff saw what he believed to be his credit

card number displayed on the computer screen.

   18.Plaintiff and his daughter thereafter called Microsoft, and were advised that

the individual accessing the computer was not employed by Microsoft.


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   19.That same day, Plaintiff contacted Defendant to determine if any

unauthorized charges were made on his credit card by the third-party.

   20.During this conversation with Defendant, Plaintiff was advised that a

Western Union money transfer was purchased that day in the amount of $657.00.

   21.Plaintiff did not authorize or make the charge referenced in the previous

paragraph.

   22.During this phone call, Plaintiff informed Defendant’s customer service

department that the money order was not authorized and that the Account was

compromised.

   23.During this conversation, Plaintiff was advised by Defendant’s customer

service department that nothing could be done regarding the unauthorized use at

this time.

   24.Instead, Plaintiff was told that he would have to contact Defendant’s

customer service department after he received a written billing statement.

   25.Also during this conversation, Defendant cancelled the account number

associated with the Account, and issued Plaintiff a new credit card with a different

account number.

   26.Plaintiff thereafter received his monthly billing statement from Defendant on

or about July 29, 2015. A copy of this billing statement is attached as Exhibit A.

   27.The unauthorized charge appeared on this monthly statement.


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   28.After receiving the monthly statement, Plaintiff again contacted Defendant’s

customer service department by telephone on July 29, 2015.

   29.During this conversation, Plaintiff was advised that Defendant could do

nothing about the unauthorized charge as Western Union had already authorized

the payment.

   30.Thereafter, Plaintiff informed Defendant that he wanted to cancel the

Account entirely, as he was no longer happy with Defendant’s customer service

department.

   31.Later that same day, Plaintiff received a phone call from Defendant. During

this phone call he was advised that Defendant would credit Plaintiff’s account

while it conducted an investigation on the unauthorized use.

   32.Shortly thereafter, Plaintiff received two letters from Defendant confirming

the July 29, 2015 phone calls. Copies of these letters are attached as Exhibit B.

   33.One of the July 29, 2015 letters stated, in relevant part, as follows:




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   34.After receiving this letter, Plaintiff believed that his dispute had been

resolved and that he was not required to pay the disputed amount.

   35.Plaintiff thereafter received a billing statement for the period of July 19,

2015 through August 18, 2015. A copy of this billing statement is attached as

Exhibit C.

   36.This billing statement reversed the unauthorized charge, as shown below:



   37.As a result, Plaintiff again believed that the matter had been resolved in his

favor.

   38.However, shortly after September 11, 2015, Plaintiff received another letter

from Defendant. A copy of this letter is attached as Exhibit D.




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   39.This letter stated, in relevant part:




   40.Included with the letter is a document entitled “Western Union Chargeback

Response.” The Chargeback Response shows that the recipient of the money order

was Amit Rajak in Mumbai, India.

   41.Plaintiff has never been to India, and he does not know anyone named Amit

Rajak.

   42.Plaintiff thereafter received a billing statement for the period of August 19,

2015 through September 18, 2015. A copy of this billing statement is attached as

Exhibit E.

   43.The unauthorized charge was reinstated on this billing statement, as

demonstrated below:




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   44.On or about September 23, 2015, Plaintiff contacted Western Union by

telephone to discuss the unauthorized charge.

   45.During this telephone call, Plaintiff was advised that the money transfer had

not been paid out until August 1, 2015.

   46.Thus, prior to Western Union completing the money transfer, Plaintiff had

advised Defendant multiple times that the charge was unauthorized.

   47.Defendant did not contact Western Union prior to August 1, 2015 to

investigatethe unauthorized use of Plaintiff’s credit card. The factual statements in

this paragraph will likely have evidentiary support after a reasonable opportunity

for further investigation or discovery.

   48.After receiving the September 18, 2015 billing statement, Plaintiff mailed

Defendant a notice of billing error (“the Notice”).

   49.A copy of the Notice is attached as Exhibit F.

   50.The Notice was mailed on September 26, 2015 and was received by

Defendant on September 29, 2015.

   51.After it received the Notice, Defendant acknowledged receipt of the Notice

on or about October 3, 2015. A copy of this acknowledgement is attached as

Exhibit G.

   52.On or about October 9, 2015, Defendant sent Plaintiff the results of its

investigation. A copy of this letter is attached as Exhibit H.


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   53.In relevant part, this letter stated:




                  Count 1 – Violation of the Fair Credit Billing Act

   54.The foregoing paragraphs are incorporated herein by reference.

   55.The unauthorized use of Plaintiff’s credit card constitutes a “billing error” as

that term is used in the Fair Credit Billing Act, 15 U.S.C. § 1666.

   56.The Notice enabled Defendant to identify the name and account number of

Plaintiff.

   57.The Notice indicated that Plaintiff believed that the monthly billing

statement contained a billing error and the amount of the billing error.

   58.The Notice set forth the reasons for Plaintiff’s belief that the statement

contained a billing error.

   59.The Notice was mailed to the address designated by Defendant on its

monthly billing statements for notices of billing errors to be sent to.

   60.Thus, the Notice was a “notice of billing error” as that term is used in the

Fair Credit Billing Act, 15 U.S.C. § 1666(a).




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   61.Regulation Z, which implements the Fair Credit Billing Act, requires a

creditor to conduct a “reasonable investigation” after it receives a notice of billing

error.

   62.Defendant did not conduct a reasonable investigation here. Rather, it verified

the charge simply because the Western Union Chargeback Response included

Plaintiff’s “home address, phone number, or email address [that Defendant had]

listed on [Plaintiff’s] account.”

   63.The investigation conducted by Defendant was not reasonable. The factual

statements in this paragraph will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery.

   64.Defendant’s actions caused Plaintiff actual damages.

   65.Furthermore, Defendant’s actions were part of a pattern or practice of failure

to comply with its obligations under the Fair Credit Billing Act. The factual

statements will likely have evidentiary support after a reasonable opportunity for

further investigation or discovery.

   66.Specifically, verifying an unauthorized charge simply because a merchant is

able to provide one of three common pieces of information is not a reasonable

practice or procedure.

   67.Furthermore, failing to timely notify a merchant that an unauthorized charge

has been made is not a reasonable practice or procedure.


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   68.By failing to comply with the Fair Credit Billing Act, Defendant is subject to

liability pursuant to 15 U.S.C. § 1640.

WHEREFORE, Plaintiff demands judgment against Defendant for actual damages,

      statutory damages, costs, and attorney’s fees.Count 2 – Violation of the

                          “Unauthorized Use” Limitation

   69.The foregoing paragraphs are incorporated herein by reference.

   70.The Truth in Lending Act generally precludes a credit card issuer from

imposing more than $50.00 in liability for unauthorized use of a credit card. 15

U.S.C. § 1643.

   71.The purchase of the money transfer was an “unauthorized use” as it was not

made by a person who had actual, implied, or apparent authority for such use.

   72.Plaintiff received no benefit from the unauthorized use.

   73.Plaintiff provided Defendant with notice of the unauthorized use during the

June 27, 2015 phone call, the July 29, 2015 phone call, and the September 26,

2015 letter.

   74.From these communications, the card issuer had all of the pertinent

information about the unauthorized use.

   75.Because the charge was unauthorized, Plaintiff’s liability was limited to no

more than $50.00.




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   76.Nonetheless, Defendant has demanded payment of the entire $657.00 charge

from Plaintiff.

   77.As a result, Defendant violated the Truth in Lending Act’s unauthorized use

limitation contained in 15 U.S.C. § 1643.

   78.A violation of the unauthorized use limitation is actionable under 15 U.S.C.

§ 1640.

      WHEREFORE, Plaintiff demands judgment against Defendant for actual

damages, statutory damages, costs, and attorney’s fees.

                  Count 3- Violation of the FCEUA and the UTPCPL

   79.The foregoing paragraphs are incorporated herein by reference.

   80.Plaintiff is a “consumer,” as that term is defined in 73 P.S. § 2270.3.

   81.Defendant is a “creditor,” as that term is defined in 73 P.S. § 2270.3.

   82.The credit card at issue is a “debt,” as that term is defined in 73 P.S.

§ 2270.3.

   83.The FCEUA prohibits, inter alia, a creditor from engaging in any false,

deceptive, or misleading representation or means in connection with the collection

of a debt.

   84.One specific example of conduct that violates this section of the FCEUA is

falsely representing the character, amount, or legal status of any debt. 73 P.S.

§ 2270.4(b)(5)(ii).


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   85.The FCEUA also prohibits, inter alia, a creditor from using unfair or

unconscionable means to collect a debt.

   86.One specific example of conduct that violates this section of the FCEUA is

the collection of any amount, including interest, fee, charge or expense incidental

to the principal obligation, unless such amount is expressly authorized by the

agreement creating the debt or permitted by law. 73 P.S. § 2270.4(b)(6)(i)

   87.Defendant violated the FCEUA when it sought to recover the entire $657.00

charge from Plaintiff after it had been advised that the usage was unauthorized,

rather than the $50.00 that it was limited to recovering under 15 U.S.C. § 1643.

   88.If a creditor violates the FCEUA, it constitutes a violation of the UTPCPL.

73 P.S. § 2270.5(a).

   89.As part of TILA, a creditor is required to send a statement at the end of each

billing cycle which must include, inter alia, the outstanding balance on the

account. 15 U.S.C. § 1637(b)(8).

   90.Plaintiff justifiably relied on Defendant’s misrepresentation of the amount

that was owed on this account.

   91.As a result of Plaintiff’s justifiable reliance, he suffered an ascertainable loss

of money—namely, the $607.00 that he legally did not owe due to the

unauthorized use.




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   92.The UTPCPL provides for a private right of action to recover the greater of

actual damages or one hundred dollars. 73 P.S. § 201-9.2(a).

   93.Furthermore, the Court may also award three times the actual damages

suffered. 73 P.S. § 201-9.2(a).

   94.The Court may also award Plaintiff, in addition to the other relief available,

costs and reasonable attorney’s fees. 73 P.S. § 201-9.2(a).

      WHEREFORE, Plaintiff demands judgment against Defendant for actual

damages, treble damages, costs, and attorney’s fees.

                       V.     DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury as to all issues so triable.

                                                s/ Brett Freeman
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                  CERTIFICATE OF SERVICE

Service is being effectuated via the CM/ECF system.

                                      s/ Brett Freeman
                                      Brett Freeman




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